                                                                                   Case 3:16-cv-02796-LAB-KSC Document 35 Filed 04/16/18 PageID.507 Page 1 of 4



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                                                                                     7   Attorneys for Plaintiff:
                                                                                         JUSTIN HASKELL
                                                                                     8

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                                                                                    10                         UNITED STATES DISTRICT COURT
                                                                                                             SOUTHERN DISTRICT OF CALIFORNIA
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                                                                                    12   JUSTIN HASKELL                       ) Case No. 16-cv-2796-LAB-KSC
                                                11251 RANCHO CARMEL DR. # 500694




                                                                                                                              )
                   A PROFESSIONAL CORPORATION




                                                                                    13
MASHIRI LAW FIRM




                                                                                                       Plaintiff,             )
                                                       SAN DIEGO, CA 92150

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                                                                                    14                                        )
                                                                                                vs.                           )
                                                                                    15
                                                                                                                              ) JOINT MOTION TO DISMISS
                                                                                    16   COLLECTION CONSULTANTS OF            )
                                                                                         CALIFORNIA                           )
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                                                                                                                              )
                                                                                                       Defendant.             )
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                                                                                         ____________________________________ )
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                                                                                               Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Local Rule 7.2,

                                                                                    24
                                                                                         Plaintiff JUSTIN HASKELL and Defendant COLLECTION CONSULTANTS OF

                                                                                    25
                                                                                         CALIFORNIA jointly move the Court to dismiss the entire case with prejudice. Each

                                                                                    26   party to bear their own respective attorney’s fees, expenses and costs.

                                                                                    27   Respectfully submitted,

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                                                                                                                       JOINT MOTION TO DISMISS
                                                                                   Case 3:16-cv-02796-LAB-KSC Document 35 Filed 04/16/18 PageID.508 Page 2 of 4



                                                                                     1   DATED: April 16, 2018                   MASHIRI LAW FIRM
                                                                                                                                 A Professional Corporation
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                                                                                     3
                                                                                                                                 By: /s/ Alex Asil Mashiri
                                                                                                                                 Alex Asil Mashiri
                                                                                     4                                           Attorney for Plaintiff
                                                                                     5
                                                                                                                                 JUSTIN HASKELL

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                                                                                         DATED: April 16, 2018           KRONICK, MOSKOVITZ, TIEDEMANN &
                                                                                                                         GIRARD
                                                                                     8                                   A Professional Corporation
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                                                                                                                         By:         /s June D. Coleman
                                                                                                                               June D. Coleman
                                                                                    12                                         Attorneys for Defendant
                                                11251 RANCHO CARMEL DR. # 500694




                                                                                                                               COLLECTION CONSULTANTS OF
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                                                                                                                  JOINT MOTION TO DISMISS
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                                                                                     1                            SIGNATURE CERTIFICATION

                                                                                     2         Pursuant to Section 2.f.4 of the Electronic Case Filing Administrative Policies

                                                                                     3   and Procedures Manual, I hereby certify that the content of this document is

                                                                                     4   acceptable to counsel for Defendant and that I have obtained defense counsel’s

                                                                                     5   approval for her electronic signature to this document.

                                                                                     6   DATED: April 16, 2018                  MASHIRI LAW FIRM
                                                                                                                                   A Professional Corporation
                                                                                     7

                                                                                     8                                                By: /s/Alex Asil Mashiri
                                                                                                                                      Alex Asil Mashiri
                                                                                     9
                                                                                                                                      Attorney for Plaintiff,
                                                                                    10                                                Justin Haskell
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                                                                                                                      JOINT MOTION TO DISMISS
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                                                                                     1                             CERTIFICATE OF SERVICE

                                                                                     2         I hereby certify that on April 16, 2018, I electronically filed the foregoing
                                                                                     3   JOINT MOTION TO DISMISS with the Clerk of the Court for the United States
                                                                                     4   District Court, Southern District of California by using the CM/ECF system. I certify
                                                                                     5   that all participants in the case are registered CM/ECF users and that service will be
                                                                                     6   accomplished by the CM/ECF system.
                                                                                     7
                                                                                         DATED: April 16, 2018                       MASHIRI LAW FIRM
                                                                                     8                                               A Professional Corporation
                                                                                     9
                                                                                                                                     By: /s/Alex Asil Mashiri
                                                                                    10                                               Alex Asil Mashiri
                                                                                                                                     Attorney for Plaintiff,
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                                                                                                                                     Justin Haskell
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